—

Oo co ~s A WF SS Ww WN

Bb Bb ho bo i nN ho NO Ko — — — — — — — — — —
oo ~] nN a b> Pe ho — So O co ~~] aN a hb hand bo — oS

Case 1:07-cv-0062@WI-EPG Document1 Filed 04/Qp7 Page 1 of 19

 

FILED

Glen Halliday G Bes ;
Ashley M. Ioane APR 2B 20 i
Michael 8. Ioane, Jr

IE. AK, US DISTRIOT COURT
Michael S. Ioane, Sr. EASTERN bl T OF CALIFORNIA
Shelly J. Ioane BY

DEyUN Vac

108 E. John St.

Carson City, NV 89706

(775) 331-1185

(same address/phone for all plaintiffs)

 

Plaintiffs In Pro Per
u
UNITED STATES pisTR|CT COURT
EASTERN DISTRICT OF CALIFORNIA €
ase No
Glen Halliday, tb 07000620 Cm DB
Ashley M. Toane Shelly J. Ioane, ‘
Michael S. Ioane, Jr., Michael S. Ioane, Sr) COMPLAINT FOR DAMAGES FOR
CONSTITUTIONAL VIOLATIONS AND
Plaintiffs, DEC TORY AND INJUNCTIVE :
VS. “
TRIAL BY JURY REQUESTED

 

Kent R. Spiute, Jean Nole, Jeff

 

Hodges, Brian rian Apple ate, Michelle M.
Casarez, Unknown ‘Does’ 1-20, and
United States,
Defendants. }
JURISDICTION

1. This Court has jurisdiction over this matter pursuant to 28 U.S.C. §1331.
VENUE
2. All acts described in this complaint occurred within this judicial district.
PARTIES
3. Defendant KENT R. SPJUTE is a federal officer, and was acting illegally,
under color of federal law at all times mentioned. He is sued in his individual capacity.
4, Defendant JEAN NOLE is a federal officer, and was acting illegally,
under color of federal law at all times mentioned. She is sued in her individual capacity.
3. Defendant BRIAN APPLEGATE is a federal officer, and was acting illegally,

under color
WO 0c 3 OR CH fe Ww Bo

mb oN NWN KN ypo=|_ = = = _
So SRA RE BBR BSB S&F eaAa a awk OUR Uc US

Case 1:07-cv-006@AWI-EPG Document 1 Filed 04/@o7 Page 2 of 19

of federal law at all times mentioned. He is sued in his individual capacity.

6. Defendant MICHELLE M. CASAREZ is a federal officer, and was acting illegally,
under color of federal law at all times mentioned. She is sued in her individual capacity.

7. Unknown DOE defendants 1-20 are also federal agents, and acting illegally,
under color of federal law at ail times mentioned. They include other unknown persons involved with
executing the below described search warrant raids, as well as supervisors and superiors of the
agents who physically participated in the raids. Plaintiffs do not presently know the true names

of these defendants. They are sued in their individual capacities.
FIRST CAUSE OF ACTION

(Unreasonable Search & Seizure In Violation of Fourth Amendment)

8. On June 8, 2006 the named individual defendants and at least five other unknown
DOE agents appeared at plaintiffs’ leased residential building located at 1521 Fruitland Ave.,
Atwater, California to execute an alleged search warrant (copy attached as Exhibit A).

9, The purported warrant cited no violations of any federal laws, and no affidavit in
support of the warrant accompanied it at the time of execution or was ever served on plaintiffs at
any time.

10. The warrant purported to authorize the seizure of virtually any document found,
and any computer equipment and software, bank/credit card, phone/address books, phone
records, rolodex cards, etc. concerning 1999 to the present concerning a specific list of names,
“plus persons or entities unknown” and “names unknown or entities unknown”,

11. | The warrant was overbroad and void on its face.

12. Nonetheless, claiming to rely on the facially void warrant, and the non-specific
‘names unknown or entities unknown’ language in the warrant, the defendants forced their way
into the property, conducted a lengthy search of it, including areas belonging to all plaintiffs, and
seized numerous items of property belonging to plaintiffs.

13. The above acts violated plaintiffs’ Fourth Amendment rights against unreasonable
Oo © KN ADA WH & YW NH =

NHN NO KH NH WN NN NO YN NO | |= = = FEF OOO ESO Selle lhc ES le
aoa se A OH F&F WH NH — S&F Oo Se YN A A SF WY NO — OS&

Case 1:07-cv-006MAWI-EPG Document 1 Filed 04/7 Page 3 of 19

searches and seizures.
SECOND CAUSE OF ACTION
(Deprivation of Property Without Due Process of Law)

14. Paragraphs 1-13 are incorporated herein.

15. The acts of the defendants deprived plaintiffs of property in violation of their
right to due process of law under the United States Constitution.

THIRD CAUSE OF ACTION
(Excessive Force)

16. Paragraphs 1-13 are incorporated herein.

17. ‘At the time of the search raid by the defendants, plaintiffs Michael Ioane, Sr., and
Shelly J. loane were present at the property location.

18. Onushing through the door, the agents had guns drawn, cocked and pointed
them in a threatening manner at the heads of both Michael and Shelly Ioane without reason or
provocation, and intended to cause and did cause these plaintiffs to fear for their lives.

19. Being threatened with guns caused emotional distress to the above plaintiffs and
severe emotional distress to Shelly J. Ioane.

20. The actions of the defendants were a use of unnecessary and excessive force, in
violation of plaintiff's Fourth Amendment rights.

FOURTH CAUSE OF ACTION
(Interference with First Amendment Association, Freedom of Speech & Press Rights)

21. | Paragraphs 1-20 are incorporated herein.

22. Many of the documents seized were related to plaintiffs’ exercise of their right of
association with others, free speech, and free press rights protected under the First Amendment
of the United States Constitution.

23. Defendants violated plaintiff's First Amendment rights by their conduct.

FIFTH CAUSE OF ACTION
Dw fe NN DB A BF WD NO —

NM NM NM NO NO NH NB NO ON RS SE SESE SEO SESE LTP el
eo SA TA eh YS NB SH SG OS Se SH KR OULD UML lL CUO

Case 1:07-cv-0064AWI-EPG Document 1. Filed 04/7 Page 4 of 19

(Failure to Instruct, Supervise, Control, Discipline against Unknown DOE’s)

24. Paragraphs 1-23 are incorporated herein.

25. Atall relevant times, the defendants executing the warrants were acting under the
direction and control of the unknown DOE superiors and supervisors.

26. ‘Illegally, acting under color of federal law, the unknown DOE superiors and
supervisors intentionally, knowingly, recklessly and with deliberate indifference to the rights of
the inhabitants of the area failed to instruct, supervise, control, and/or discipline the defendants
who executed the warrants to refrain from conducting unlawful searches and seizures, and
conspiring to violate federally protected rights, and otherwise depriving citizens of their
constitutional and statutory rights, privileges, and immunities.

27. Defendant unknown DOE superiors and supervisors had knowledge or should
have had knowledge that the wrongs alleged herein, or other unlawful, unconstitutional acts were
going to be committed and had the power to prevent, or aid in preventing, the commission of
said wrongs, could have done so, and intentionally, knowingly, or with deliberate indifference to
the rights of inhabitants of the area, failed or refused to do so.

28. Defendant unknown DOE superiors and supervisors directly or indirectly,
illegally, under color of law, approved or ratified the unlawful, deliberate, malicious, reckless,
and wanton conduct of the defendants executing the warrants, and thereby caused damages to
occur to plaintiffs.

SIXTH CAUSE OF ACTION
(Unauthorized Disclosure of Tax Information against United States)

29. Within the last 2 years, agents of defendant United States disclosed tax
information about plaintiff Michael S. Joane, Sr. multiple times to third-parties without plaintiffs’
consent and when no statutory exception allowed for any such disclosures.

30. The above disclosures included accusations of violating federal criminal law to

third-parties by some of the individual defendants herein, as well as other IRS agents.
Case 1:07-cv-0064@AWLEPG Document 1 Filed 04/7 Page 5 of 19

31. | These disclosures were made in violation of 26 U.S.C. §6103, and Michael S. foane,

Sr. is entitled to damages under 26 U.S.C. §7431.
JURY TRIAL DEMAND
32. Plaintiffs seek trial by jury for alt triable issues.
REQUEST FOR RELIEF
Plaintiffs seek the following relief for the above violations:
I. $1,000,000 in compensatory damages against all individual defendants jointly and
severally;
2. $1,000,000 in punitive damages against all individual defendants jointly and
severally;
3. An injunction against the defendant’s continued possession of the equipment,

property, and records seized, and an order directing them to be returned to
plaintiffs;
4. Costs of this action;

5. Any further relief the Court deems just.
Submitted by,
BZ Halliday

WDhabby b doors

Shelly J. Toa
Cable, loons
Ashley M4foaite

J. be

ichael S. Toane, Jr.

Bee Sr/

 

 

 

 
22 Life Sth Sener Bor EPG — Filed oTTGO7 Page 6 of 19
United States District Court

EASTERN DISTRICT OF CALIFORNIA

 

 

 

In tha Matter of the Search of
(Name, address or brief description of person or property lo be eaarch)

| COr fs SEARCH WARRANT
Residence & Outbuildings at

1521 Fruitland Ave., Atwater, California CASE NUMBER:

q QE WOOT

spat on

To: Kent R. Spjute, Special Agent, Internal Revenue Service, Criminal Investigation Division,
and any Authorized Officer of the United States

 

Affidavit(s) having been made before me by Kent R. Spjute who has reason to believe that ( ) on the person of or (X )
on the premises known aS (name, description and/or location)

SEE ATTACHMENT A

in the Eastern District of California there is now concealed a certain person or property, namely

(describa the person or property to be seized}

SEE ATTACHMENT B

| am satisfied that the affidavit(s) and any recorded testimony establish probable cause to believe that the person or
property so described is now concealed on the person or premises above-described and establish grounds for the
issuance of this warrant.

 

YOU ARE HEREBY COMMANDED TO SEARCH ON OR BEFORE Jue IT Bog
DATE

(not to exceed 10 days) the person or place named above for the person or property specified, serving this warrant and
making the search and if the person or property be found there to seize same, leaving a copy of this warrant and
receipt for the person or property taken and prepare a written inventory of the person or property seized and promptly

return this warrant to LAWRENCE J. 0’ NEILL

as required by law. U.S. Judge or Magistrate

June 7, 2006 at Fresno, California

 

Date and Time Issued City and State

LAWRENCE J. O’NEILL J VOW LO

Name and Title of Judicial Officer Signature Stacdicial Officer CJ

 
ee

 

RETUR

Case 1:07-cv-006AGAWI-EPG Document 1 Filed 04M? Page 7 of 19

 

Date Warrant Received Date and Time Warrant Executed

 

 

Copy of Warrant and Receipt For Items Left With

 

Inventory Made in the Presence of

 

Inventory of Person or Property Taken Pursuant to the Warrant

 

CERTIFICATION

 

 

 

| swear that this inventory is a true and detailed account of the person or property taken by me on the

warrant.

 

Subscribed, sworn to, and returned before me this date.

 

 

U.S. Judge or Magistrate Date

 

 
Case 1:07-cv-006MAWI-EPG Document 1 Filed 04/@p7 Page 8 of 19

ATTACHMENT A

PREMISES, GARAGE AND ANY OUTBUIDLINGS TO BE SEARCHED
At 1521 Fruitland Ave, Atwater, CA

This location is a one story single-family residence located 1521 Fruitland Atwater, California with the
address on the mail box in front on the west side of the residence. It is described as a single story white
or cream colored stucco house with a wood shake roof and a separate open carport structure to the west
of the residence. There are arches in the front with tan bricks part way up on the walls of the house. The
residence and carport sits on about 2.8 acres with a separate single wide trailer in the back section of the
property. The property with carport area and trailer is pictured below.

 

Front of 1521 Fruitland, Atwater, CA from street.
Case 1:07-cv-006M@AWI-EPG Document 1 Filed 04/7 Page 9 of 19

 

 

carte ON em ee TE ee

Carport area to west of property

 

 

Front door area of residence
Case 1:07-cv-0062@Wi-EPG Document 1. Filed 04/7 Page 10 of 19

 

 

Trailer in back of property at 1521 Fruitland Ave, Atwater, CA- as part of property to be
searched.
Case 1:07-cv-0062@wi-EPc Document 1 Filed 04) Map Page 11 of 19

Attachment B

The following list of items are believed to be found in the residence, carport, trailer or any outbuildings of
Michael Scott Ioane Sr. ; AKA Michael Johnson, at 1521 Fruitland Ave., Atwater, CA more particularly
described in Attachment A, for the period of time beginning Jan. 1 1999 to the present:

All records, as cited below, involving the following individuals or entities listed, plus persons or entities
unknown; are set forth below:

Vincent Steven Booth, V. Steven Booth, Louise Booth, Aligned Enterprises Trust, Alpha Omega
Trust, Booth Health Management Org. Inc., Agape Foundation, Bakersfield Properties & Trust Co ,
San Joaquin Wellness & Medical Group Prof. Corp dba Booth Chiropractic, Southern Financial
Services, 21* Century Management & Trust, Acacia Corporate Management, Acacia Charitable
Foundation, First Amendment Publishers, Paradise Solutions Trusts, American Federal Trust, Michael
Scott Toane, Michael Ioane, Michael Johnson, Mike Olsen, Shelly Olson-Ioane, Shelly Olsen, Shelly
Ioane, Steven Stucker, James Baker, Laurel Fierro, plus names unknown or entities unknown.

To include the following records:

1. Records of the creation, existence and operation of trusts or other entities, including: trust
agreements, trust minutes, trust correspondence, trust transfers, notices, letters, correspondence,
trust income records, records of receipts, expenses, loan records, deeds of trusts, payments on
loans, ledgers, schedules, bank records, cancelled checks, asset records of purchases and
transfers, deposit records, trustee appointments and trustee records.

2. Records used to prepare tax returns, copies of tax returns, schedules, all attached schedules,
forms, work papers, copies of Forms W-2, Forms 1099, Forms 1098, letters, correspondence,
communications with the IRS or California state franchise tax board, and letters to the IRS.

3. Bank records, cancelled checks, check registers, deposit records, bank statements, cashier’s check
or money order records, bank loan records, deposit slips, postal money orders or other items to
make payments, and the transfers of any funds or money.

4. Records, letters, emails, schedules, memorandums, or documents to counsel, advise, direct,
Steven Booth, Louise Booths, and other individuals and entities regarding trusts, companies,
assets, taxes, IRS, and financial transactions.

5. Records showing purchase or transfer of assets, real property investments, partnership records,
fiduciary records, and assets for V. Steven Booth, Louise Booth and other entities and
individuals.

6. Records showing receipt of funds, such as gift, transfers or income from any source to include
trusts, wages, dividends, capital gains, cash receipts, loans, gifts, loan documents, loan payment
schedules, and other records.
7.

Case 1:07-cv-006MBAWI-EPG Document 1 Filed 04/47 Page 12 of 19

Records of property ownership and transfer of any real properties to include deeds, deeds of
trusts, reconveyances, title records, escrow records, loan records, ownership records, evidence of
ownership records, payments on behalf of real properties, rental records, rental income records
and rental expense records

Records of all IRS contacts and communications about IRS contacts, such as letters, receipts,
books, manuals, guides, templates, “how to” records,

Cellular telephones and other electronic storage devices, such as personal digital assistants (PDA)
for storage of dates, phone numbers, calendars or names, and phone records.

10, Calendar schedules, appointment books, rolodex, phone records,

Computer, computer related equipment and storage devices

1.

Any computer equipment and storage device capable of being used to commit, further or store
evidence of the offense listed above;

Any computer equipment used to facilitate the transmission, creation, display, encoding or storage
of data, including word processing equipment, modems, docking stations, monitors, printers,
plotters, encryption devices, and optical scanners.

Any magnetic, electronic or optical storage device capable of storing data, such as floppy disks,
hard disks, tapes, CD-ROMs, CD-R, CD-RWs, DVDs, optical disks, printer or memory buffers,
smart cards, PC cards, memory calculators, electronic dialers, electronic notebooks, and personal
digital assistants;

Any documentation, operating logs and reference manuals regarding the operation of the
computer equipment, storage devices or software.

. Any applications, utility programs, compilers, interpreters, and other software used to facilitate

direct or indirect communication with the computer hardware, storage devices or data to be
searched.

Electronically stored communications, emails, letters, or other stored data.

Any physical keys, encryption devices, dongles and similar physical items that are necessary to
gain access to the computer equipment, storage devices or data; and

Any passwords, password files, test keys, encryption codes or other information necessary to
access the computer equipment, storage devices or data. Papers that have words, letters, or
phrases that could include computer passwords or other such material to access computers or
computer information.

Computer related documentation consisting of written, recorded, printed or electronically stored
material which explain or illustrate how to configure or use computer hardware, software, or
other related items.
Case 1:07-cv-0062@Wwi-EPG Document 1 Filed 04/27 Page 13 of 19

Computer Searching/seizure procedure
In searching for data capable of being read, stored or interpreted by a computer, law enforcement
personnel executing this search warrant will employ the following procedure:

a.

Upon securing the premises, law enforcement personnel trained in searching and
seizing computer data (the “computer personnel”) will make an initial review of any
computer equipment and storage devices to determine whether these items can be
searched on-site in a reasonable amount of time and without jeopardizing the ability to
preserve the data.

If the computer equipment and storage devices cannot be searched on-site in a
reasonable amount of time, then the computer personnel will determine whether it is
practical to copy the data during the execution of the search in a reasonable amount of
time without jeopardizing the ability to preserve the data.

If the computer personnel determine it is not practical to perform an on-site search or
make an on-site copy of the data within a reasonable amount of time, then the
computer equipment and storage devices will be seized and transported to an
appropriate law enforcement laboratory for review. The computer equipment and
storage devices will be reviewed by appropriately trained personnel in order to extract
and seize any data that falls within the list of items to be seized set forth herein.

Any data that is encrypted and unreadable will not be returned unless law enforcement
personnel have determined that the data is not (1) an instrumentality of the offense, (2)
a fruit of the criminal activity, (3) contraband, (4) otherwise unlawfully possessed, or
(5) evidence of the offense specified above.

In searching the data, the computer personnel may examine all of the data contained in
the computer equipment and storage devices to view their precise contents and
determine whether the data fails within the items to be seized as set forth herein. In
addition, the computer personnel may search for and attempt to recover “deleted,”
“hidden” or encrypted data to determine whether the data falls within the list of items
to be seized as set forth herein.

If the computer personnel determine that the computer equipment and storage devices
are no longer necessary to retrieve and preserve the data, and the items are not subject
to seizure pursuant to Federal Rule of Criminal Procedure 41(b), the government will
Teturn these items within a reasonable period of time not to exceed 60 days from the
date of seizure.
Case 1:07-cv-006@AWwi-EPG Document 1 Filed 04MM07 Page 14 of 19

Inventory Listing of All Items Seized at Search Warrant Site

Site Name:

1521 Fruitland Ave .
Atwater, CA 95301

Investigation Number:
1000206064
Starting Date and Time:

Report Date:
Thursday, June 08, 2006

06/08/2006 09:05 AM
Ending Date and Time:
06/08/2006 03:30 PM

 

 

 

 

 

 

 

 

 

 

 

Control #: 1 .Evidence Box: 1

Location: Large Storage Locator Code:

Found: Center Aisle

Description: Seized Per Warrant Corp records of Mountain Property Management and Golden
Opportunity.

Control #: 2 Evidence Box: 2

Location: Large Storage Locator Code:

Found: Center Aisle

Description: Seized Per Warrant Minutes - Project Go, Record of Trust - Project Go, Corporate
Records - Artic Gold

Control #: 3 Evidence Box: 3

Location: Large Storage Locator Code:

Found: Center Aisle

Description: Seized Per Warrant Equitable Financial Services documents, including minuts

Control #: 4 Evidence Box: 4

Location: Large Storage Locator Code:

Found: Center Aisle

Description: Seized Per Warrant National Holding Trust, Rugged USA, Mud Creek, True
Technologies, Candle Mining, Nevak Mining, Corporate
Records

Controi #: 5 Evidence Box: 5

Location: Large Storage Locator Code:

Found: Center Aisle

Description: Seized Per Warrant Two minute books, searchlight, contract and dectarationn of
creation - American Lending Service

Control #: 6 Evidence Box: 6

Location: Large Storage Locator Code:

Found: East Wall Shelf

Description: Seized Per Warrant Misc. documents as covered in Search Warrant.

 

Page 1 of 6
Case 1:07-cv-006AMAWI-EPG Document 1 Filed 04/7 Page 15 of 19

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Control #: 7 Evidence Box: 7

Location: Large Storage Locator Code:

Found: Center Aisle

Description: Seized Per Warrant 2001 Tax Records - First Amendment Publishers.

Control #: 8 Evidence Box: 8

Location: Large Storage Locator Code:

Found: Center Aisle

Description: Seized Per Warrant 2001 Tax Records - Various Entities.

Control #: 9 Evidence Box: 9

Location: Large Storage Locator Code:

Found: Center Aisle

Description: Seized Per Warrant Bank Statements, deposit records, phone records, other

. misc. records.

Control #: 10 Evidence Box: 3

Location: Large Storage Locator Code:

Found: Center Aisle

Description: Seized Per Warrant Declarations of intent for numerous trusts.

Control #: 11 Evidence Box: 3

Location: Large Storage Locator Code:

Found: Center Aisle

Description: Seized Per Warrant 1996 Form 1041 for First Amendment Publishers that was
prepared in 2002.

Control #: 12 Evidence Box: 10

Location: Large Storage Locator Code:

Found: Center Aisle

Description: Seized Per Warrant 2003 Tax infor for various entities including American Fed
trust, Global Funding, and Acacia Court Management.

Control #: 13 Evidence Box: 11

Location: Large Storage Locator Code:

Found: Center Aisle

Description: Seized Per Warrant Two 2003 receipts, misc. financial documents.

Control #: 14 Evidence Box: 12

Location: Office Locator Code:

Found: Bookshelves

Description: Seized Per Warrant Bank records and accounting records for various entities.

 

Page 2 of 6
Case 1:07-cv-006MBAWI-EPG Document 1 Filed 04/7 Page 16 of 19

 

 

 

Control #: 15 Evidence Box: 13

Location: Office Locator Code:

Found: Bookshelves

Description: Seized Per Warrant Trust and various entity accounting records, trust court
documents, bank records and investment account records.

Control #: 16 Evidence Box: 14

Location: Office Locator Code:

Found: Bookshelves

Description:

Seized Per Warrant

Accounting records for trusts and various entities.

 

 

 

 

Control #: 17 Evidence Box: 15

Location: Office Locator Code:

Found: Bookshelves

Description: Seized Per Warrant Trustee info, trust accounting records, invoices, bank
documents; LLC, trust, personal, and corporate bank records.

Control #: 18 Evidence Box: 16

Location: Office Locator Code:

Found: Bookshelves

Description:

Seized Per Warrant

Trust and various accounting records; corporate records.

 

 

Control #:
Location:
Found:

Description:

19

Office

Bookshelves
Seized Per Warrant

Evidence Box: 17
Locator Code:

Binders: Fruitland purchase contract, Acacia lein issues,
First Amendment - minutes.

 

 

Control #:
Location:
Found:

Description:

20

Garage

Top of file cabinets.
Seized Per Warrant

Evidence Box: 18
Locator Code:

Bank Statements and cther financial documents for various
entities.

 

 

Control #:
Location:
Found:

Description:

21

Office

Bookshelves
Seized Per Warrant

Evidence Box: 19
Locator Code:

Contracts and trust records, tax data, court records.

 

 

Control #:
Location:
Found:

Description:

22

Office

Bookshelves
Seized Per Warrant

Evidence Box: 20
Locator Code:

United Sovereign of America Manuel, The Right of Travel,
legal rights binder, blank loan documents, Brick Mortgage,
Expesing Bank Fraud.

 

Page 3 of 6
Case 1:07-cv-0062Mwi-EPG Document 1 Filed 04/7 Page 17 of 19

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Control #: 23 Evidence Box: 21

Location: Office Locator Code:

Found: Bookshelves

Description: Seized Per Warrant Trust identifications, trust perceptions, IRS Exhibit, Acacia
Declaration and Contract - First Amendment, Charitable
Scholarship.

Control #: 24 Evidence Box: 22

Location: Office Locator Code:

Found: Bookshelves

Description: Seized Per Warrant Booth tax audits and taxes, various trust tax audits and taxes.

Control #: 25 Evidence Box: 23

Location: Office Locator Code:

Found: Fist Cornputer Desk

Description: Seized Per Warrant tmage of System F1 - Generic PC (Serial: heliuso4020011)

Control #: 26 Evidence Box: 23

Location: Office Locator Code:

Found: Main desk on right.

Description: Seized Per Warrant Image of loose drive, F6 (Serial: d23y2yye) - Maxtor

Control #: 27 Evidence Box: 24

Location: Garage Locator Code:

Found: Filing Cabinet #7, Drawers 1 and 2

Description: Seized Per Warrant Financial documents for American Federal Trust, assets
owned.

Control #: 28 ' Evidence Box: 23

Location: Office Locator Code:

Found: Second Desk on left

Description: Seized Per Warrant Image of Dell Laptop Computer, F3 (Service Tag: 8cl4521}

Control #: 29 Evidence Box: 23

Location: Office Locator Code:

Found: Main desk on left.

Description: Seized Per Warrant Image of Generic PC, F4 (no serial number).

Control #: 30 Evidence Box: 23

Location: Office Locator Code:

Found: Main desk on right.

Description: Seized Per Warrant Image of generic PC (Serial #; 02042201) removable

harddrive, Harddrive 1

 

Page 4 of 6
Case 1:07-cv-00624wi-EPc Document 1 Filed 04/7 Page 18 of 19

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Control #: 31 Evidence Box: 23

Location: Office Locator Code:

Found: Main desk on right.

Description: Seized Per Warrant Image of generic PD (serial # 02042201) harddrive 0

Control #: 32 Evidence Box: 23

Location: Office Locator Code:

Found: Second Desk on left

Description: Seized Per Warrant Image of Dell Laptop, F2 (Service Tag: hnn4521).

Control #: 33 Evidence Box: 23

Location: Trailer Liv/Off/Kit. Locator Code:

Found: On desk

Description: Seized Per Warrant Image of Action Computer harddrive 0

Control #: 34 Evidence Box: 25

Location: Office Locator Code:

Found: Bookshelves

Description: Seized Per Warrant Acacia Management, APG-Mariposa Holding, Booth and San
Joaquin Wellness binders.

Control #: 35 Evidence Box: 26

Location: Office Locator Code:

Found: Bookshelves

Description: Seized Per Warrant Accounting records, invoices, contract and declaration of
trust, Booth Wellness HMO Binder.

Control #: 36 Evidence Box: 27

Location: Office Locator Code:

Found: Bookshelves

Description: Seized Per Warrant Address book, Nevada phone line, Acacia phone line, estate
restructuring, two 3 1/2” diskettes.

Control #: 37 Evidence Box: 27

Location: Office Locator Code:

Found: Under table in middle of room

Description: Seized Per Warrant lien billing and receipts.

—

Control #: 38 Evidence Box: 27

Location: Office Locator Code:

Found: On floor next to desk on right.

Description: Seized Per Warrant Two computer disks, deed info for fruitridge address.

 

Page 5 of 6
Case 1:07-cv-0062@W-EPG Document 1 Filed 04/7 Page 19 of 19

 

 

 

 

 

 

 

 

 

Control #: 39 Evidence Box: 27

Location: Office Locator Code:

Found: Corner desk filing cabinet

Description: Seized Per Warrant Jim Baker files, trust files, account transaction printouts for
trusts.

Control #: 40 Evidence Box: 27

Location: Office Locator Code:

Found: Bottom of black filing cabinet

Description: Seized Per Warrant Property documents, Bill of exchange.

Control #: 41 Evidence Box: 27

Location: Office Locator Code:

Found: Bottom of black filing cabinet

Description: Seized Per Warrant Booth files.

Control #: 42 Evidence Box: 27

Location: Office Locator Code:

Found: Top of main desk on right

Description: Seized Per Warrant Documents with Booth, 21st Century, San Joaquin Wellness,
Trust minutes.

Control #: 43 Evidence Box: 27

Location: Office Locator Code:

Found: Main desk on left

Description: Seized Per Warrant Booth corresp with IRS, “Mike's Bible" containing Booth

information.

 

Page 6 of §&
